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                  Of Attorneys for Debtor Edward A. Ariniello, Jr.


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON

         In re:                                             Case No. 21-31142-dwh11

                  EDWARD A. ARINIELLO, JR.,                 DEBTOR’S MOTION TO EXTEND TIME
                                                            TO FILE CHAPTER 11 PLAN
                                Debtor.


                  Edward A. Ariniello, Jr. (the “Debtor”) hereby moves this Court for the entry of an Order

         extending the deadline by which Debtors’ Chapter 11 Plan must be filed. In support of the

         motion, Debtor asserts the following:

                  1.     On May 17, 2021, (the “Petition Date”), the Debtor commenced a bankruptcy

         case by the filing of a voluntary petition for relief under Chapter 11 Subchapter V of the United

         States Bankruptcy Code.

                  2.     Pursuant to 11 U.S.C. § 1189, the Debtors were to file a plan “not later than 90

         days after the order for relief under this chapter, except that the court may extend such period if

         the need for an extension is attributable to circumstances for which the debtor should not justly

         be held accountable.” 11 U.S.C. § 1189(b). In this case the Chapter 11 Plan was to be filed by

         August 16, 2021.




Page 1 of 2       DEBTOR’S MOTION TO EXTEND TIME TO FILE                                      Motschenbacher & Blattner LLP
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                  CHAPTER 11 PLAN                                                                 Portland, Oregon 97204
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                               Case 21-31142-dwh11          Doc 28     Filed 08/16/21               www.portlaw.com
                3.      Debtor requests an extension of time to file a Plan, and asserts that the requested

         extension is attributable to circumstances for which the Debtor should not be accountable. The

         Debtors and Counsel have been working diligently on the formation of a viable plan. Debtor’s

         counsel is unable to file the plan by the deadline, due to technical difficulties related to working

         remotely. Debtor needs only a short, one-day extension of time to enable counsel to finalize and

         file the Plan once counsel can work with staff to finalize the Plan and complete the filing.

                WHEREFORE, the Debtors pray for the Court to enter an Order extending the deadline

         by which the Debtor’s Chapter 11 Plan must be filed, from August 16, 2021, to August 17, 2021.

                DATED: August 16, 2021                  MOTSCHENBACHER & BLATTNER LLP

                                                        /s/ Nicholas J. Henderson
                                                        Nicholas J. Henderson, OSB #074027
                                                        Of Attorneys for Debtors




Page 2 of 2    DEBTOR’S MOTION TO EXTEND TIME TO FILE                                         Motschenbacher & Blattner LLP
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                                         CERTIFICATE OF SERVICE

              I hereby certify that I served the foregoing DEBTOR’S MOTION TO EXTEND TIME
         TO FILE CHAPTER 11 PLAN on the following person(s) through operation of the Court’s
         CM/ECF electronic filing system:

                  NICHOLAS J HENDERSON nhenderson@portlaw.com, tcoble@portlaw.com;
                   tsexton@portlaw.com; shalstead@portlaw.com; hendersonnr86571@notify.bestcase.com
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                   mperry@portlaw.com, troy-sexton-4772@ecf.pacerpro.com
                  US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov

         DATED: August 16, 2021                     MOTSCHENBACHER & BLATTNER LLP

                                                    By: /s/ Nicholas J. Henderson
                                                    Nicholas J. Henderson, OSB #074027
                                                    Of Attorneys for Debtor




Page 1 of 1        CERTIFICATE OF SERVICE                                            Motschenbacher & Blattner LLP
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